Case 2:Ol-cV-03041-STA-egb Document 240 Filed 08/01/05 Page 1 of 5 Page|D 305

/
" _M___ D.(J
UNITED STATES DlSTRlCT COURT Fn£n w g
WESTERN DISTRlCT OF TENNESSEE 05 hug __\ AH H- 00
WESTERN DIVISION

mmrk§\‘ G(: Z`LD

 

m 1

     
 

 

 

 

 

 

cz.EP`=r: "fjs: 3 '~“Y CQU“T
MEMPH]S-SHELBY COUNTY \.ijlr\ F”F . §§l‘r":"ho
AIRPORT AUTHORITY, Plaintiff, Counter- Defendant,
vs. Civil Action No. 01-304l-BA
JURY DEMANDED
lLLINOIS VALLEY PAVING COMPANY, Defendanl/COunter-Plaintiff,
ILLlNOIS VALLEY PAVING COMPANY, Third-Party Plaintif`f,
vs.
JACO ALRFIELD CONSTRUCTION, lNC., Third-Party Del`endant.
JACO AlRFIELD CONSTRUCTION, INC., Fourth-Party Plaintiff,
vS.
NEHRlNG ELECTRlCAL WORKS COMPANY,
GRAYBAR ELECTRIC COMPANY, INC., Fourth-Party Defendants.
NEHRING ELECTRICAL WORKS COMPANY,
GRAYBAR ELECTRIC COMPANY, INC., Fifth-Party P]aintiffs,
vs.
AMERACE, a Division ofThomas & Betts Corporation, Fifth~Pany Defendants.
ILLINOIS VALLEY PAVING COMPANY, Cross-Claimant,
vs.
NEHRING ELECTRICAL WORKS COMPANY,
GRAYBAR ELECTRIC COMPANY, INC., CroSs-Defendants.
Page l of 3
This ciouument er .e. ed on the docket sheet in comp iance

¢_“_"~\
Wim mae 53 and/or may FHCP on 351 'Q§ 940

Case 2:Ol-cV-03041-STA-egb Document 240 Filed 08/01/05 Page 2 of 5 Page|D 306

FIREMAN’S FUND INSURANCE COMPANY, Defendant/CroSS-Claimant,
vs.

JACO AIRFIELD CONSTRUCTION, INC.,
NEHRlNG ELECTRICAL WORKS COMPANY,
AND GRAYBAR ELECTRIC COMPANY, INC., Cross-Defendants.

 

ORDER GRANT]NG NEHRING ELECTRICAL WORKS COMPANY’S,
GRAYBAR ELECTRIC COMPANY, INC. ’S AND AMERACE, A
DIVISION OF THOMAS & BETTS CORPORATION’ S .]OINT MOTION
TO DISMISS THE FOURTH- PAR'I`Y COMPLAINTS AGAINST
AMERACE, A DIVISION OF THOMAS & BETTS CORPORATION

 

Carne 0n to be heard the Joint Motion of Nehring Electrical Works Company, Graybar
Electric Company, Inc. and AMERACE, a Division of Thomas & Betts Corporation, 10 dismiss
the Fourth-Party Cornplaints against AMERACE, a Division of Thomas & Betts Corporation,
Without prejudice The Joint Motion is Well taken and shouid be granted

WHEREFORE PREMISES CONSIDERED, this Court does Order, Adjudge and Decree
that the FOurth-Party Complaints filed by Nehring Electric Works Company and Graybar E]eetrie

Cornpany, Inc. against AMERACE are hereby dismisse ithout prejudice

U;Li\ 31 '),o:>\

   

 

  

// /%W€

TODD B MURRAH (#15235)

Attorneys for Nehring Electrical Works Company
26 N. Second Street

Memphis, Tennessee 38103

Page 2 of 3

Case 2:01-cV-03041-STA-egb Document 240 Filed 08/01/05 Page 3 of 5 Page|D 307

(901) 527-4673
Fi]e: 03-125

CERTIFICATE OF SERVICE

1 hereby certify that a copy of the foregoing has been properly served, via U.S. Mail

postage prepaid, upon:

R. Alan Pritchard, Esq.

Baker, Donelson, Bearman &
Caldwe[l, P.C.

165 Madison Ave., Suite 2000
Memphis, TN 38103

William O. Luckett, Jr., Esq.

Rossie, Luckett, Parker & Ridder, P.C.

1669 Kirby Parkway, Suite 106
Memphis, TN 38120~4397

John Wilson, Esq.

Larry Crawford, Esq.

Wyatt, Tarrant & Combs

1715 Aaron Brenner Dr., Suite 800
Memphis, TN 38120-4367

Oscar C. Carr, 111, Esq.

Glankler Brown, PLLC

One Commerce Square, Suite 1700
Memphis, TN 38103

James W. Bruner, Esq`
Brown, Hay & Steph ens
205 S. Fifth St., Suite 700
Springfield, IL 62705

James W. Cook, Esq.
Card, Cook, Holt & Pugh
1?07 Kirby Parkway East
Memphis, TN 38120

William H. Haltorn, Jr., Esq.
Thomason, Hendrix, Harvey,
Johnson & Mitchell

One Commerce Square, 29“1 Floor
Memphis, TN 38103

Lee L. Piovarcy, Esq.

Martin, Tate, Morrow & Marston, P.C.
6410 Poplar Avenue, Suite 1000
Memphis, TN 381 1 19-4843

on this the Q:Z+&day of w /j , 2005.

w

/%W£.,

ToDD 'B. MURRAH

Page 3 of 3

     

UNDITE sTATEs DISTIC COURT - WESTERN ISRTOF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 240 in
case 2:01-CV-03041 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

R. Grattan Brown
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

Memphis7 TN 38103

.1 eremy G. Alpert
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

Memphis7 TN 38103

Lee L. Piovarcy

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

Memphis7 TN 38119

Todd B. Murrah

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

Memphis7 TN 38103

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

R. Alan Pritchard

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

.1 ustin M. Ross

MARTIN TATE MORROW & MARSTON
22 North Front St.

Ste. 1 100

1\/1emphis7 TN 38103--118

Case 2:01-cV-03041-STA-egb Document 240 Filed 08/01/05 Page 5 of 5 Page|D 309

.1 ames W. Bruner

BROWN HAY & STEPHENS
205 S. 5th St.

Ste. 700

Springt`leld7 IL 62705--245

Robert L. Cranord

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

.1 ames W. Cook

CARD COOK & HOLT
1707 Kirby Parkway
Ste. 200

Memphis7 TN 38119

Oscar C. Carr

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

Memphis7 TN 38103

.1 ennifer M. Bermel

ROSSIE LUCKETT PARKER & R]DDER
1669 Kirby PkWy

Ste. 106

Memphis7 TN 38120

R. Scott McCullough

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

Memphis7 TN 38103

William O. Luckett

ROSSIE LUCKETT PARKER & R]DDER
1669 Kirby PkWy

Ste. 106

Memphis7 TN 38120

Tim EdWards

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

Memphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

